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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  M.G.U, et al.                                  )
                                                 )
                                                 )
                        Plaintiffs,              )     No. 1:18-cv-01458 (PLF)
                                                 )
  v.                                             )
                                                 )
  KIRSTJEN NIELSEN, et al.,                      )
                                                 )
                        Defendants.              )


                             UNOPPOSED MOTION FOR A STAY
                             OF CASE DEADLINES IN LIGHT OF
                              LAPSE OF APPROPRIATIONS

         Defendants hereby move for a stay of all case deadlines in the above-

  captioned case.

         1.       At the end of the day on December 21, 2018, the appropriations act

  that had been funding the Department of Justice expired and appropriations to the

  Department lapsed. The same is true for several other Executive agencies,

  including Defendant the U.S. Department of Homeland Security (“DHS”). The

  Department does not know when funding will be restored by Congress.

         2.       Absent an appropriation, Department of Justice attorneys and

  employees of DHS are prohibited from working, even on a voluntary basis, except

  in very limited circumstances, including “emergencies involving the safety of

  human life or the protection of property.” 31 U.S.C. § 1342.
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        3.      Undersigned counsel for the Department of Justice therefore requests

  a stay of all deadlines in this case until Congress has restored appropriations to the

  Department.

        4.      If this motion for a stay is granted, undersigned counsel will notify the

  Court as soon as Congress has appropriated funds for the Department. The

  Government requests that, at that point, all current deadlines for the parties be

  extended commensurate with the duration of the lapse in appropriations.

        5.      Opposing counsel has authorized counsel for the Government to state

  that they do not oppose this motion.

        Therefore, although we greatly regret any disruption caused to the Court and
  the other litigants, the Government hereby moves for a stay of all deadlines in this
  case until Department of Justice attorneys are permitted to resume their usual civil
  litigation functions.


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  Dated: December 26, 2018          Respectfully submitted,

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                                    WILLIAM C. PEACHEY
                                    Director
                                    WILLIAM C. SILVIS
                                    Assistant Director

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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  M.G.U, et al.                                     )
                                                    )
                                                    )
                        Plaintiffs,                 )      No. 1:18-cv-01458 (PLF)
                                                    )
  v.                                                )
                                                    )
  KIRSTJEN NIELSEN, et al.,                         )
                                                    )
                        Defendants.                 )



                                      [PROPOSED] ORDER

         UPON CONSIDERATION of Defendants’ UNOPPOSED MOTION FOR A STAY

  OF CASE DEADLINES IN LIGHT OF LAPSE OF APPROPRIATIONS, and for good

  cause shown, it is hereby

         ORDERED that Defendants’ motion be, and hereby is, GRANTED. All deadlines in this

  case are hereby stayed until further order of this Court. Defendants will notify the Court as

  soon as Congress has appropriated funds for the Department.

         SO ORDERED.



  ________________                                  ____________________________
  Date                                              PAUL L. FRIEDMAN
                                                    United States District Judge




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 26th day of December 2018, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF, which will automatically serve

  all counsel of record with a copy of said document.

                                               _/s/ Sarah B. Fabian
                                               SARAH B. FABIAN
                                               Senior Litigation Counsel
                                               U.S. Department of Justice




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